Case 1: 04- -c\/- -01101- .]DT- STA Document 34 Filed 05/17/05 Page 1 of 2 Pa,%D 51
§ § z/
/ `

United States District Court

WESTERN DISTRICT OF TENNESSEE
Eastern Division

 

 

 

JUDGMENT IN A CIVIL CASE
TAMEKA EMERSON
v.
ALEXANDRIA PLACE- ASSISTED CASE NUMBER: 1204-1 101-T/An
LIVING BY AMERICARE
COMPANY, ET AL.,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 5/13/2005, this action is hereby D|SM|SSED with prejudice
and each party shall bear its own costs and attorney’s fees.

APPROVED:

M%AQ¢M

S D. TODD
TED STATES DISTRICT JUDGE

 

ROBERT R. Di TROLIO

 

 

cLERK
simms BY: C§§@»O§
DATE ' § DEPUTY CLERK

This document entered on the docket sheet in compliance

with Rule 58 and/or 79(a) FRCP on 5 l 147 l Q 5 . q

DISTRICT OURT - WESTENR D"ISRICT OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 1:04-CV-01101 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

 

J. C. CoX

FIELDS & COX

645 N. Royal Street
Jackson, TN 3830]--499

Thomas O. McCarthy

McMAHON BERGER HANNA LIN]HAN CODY AND MCCARTHY
2730 N. Ballas Rd.

Ste. 200

St. Louis7 MO 63131--303

EdWin E. Wallis

MOSS BENTON & WALLIS, PLLC
325 N. Parkway

P.O. Box 3897

Jackson, TN 38303--389

Honorable J ames Todd
US DISTRICT COURT

